











Opinion issued June 18, 2009











In The
Court of Appeals
For The
First District of Texas




NO. 01-09-00124-CV




LEDARRE ZEIGLER,  Appellant

V.

ZACHARY COLLARD,  Appellee




On Appeal from the County Civil Court at Law No. 2
Harris County, Texas
Trial Court Cause No. 930498




MEMORANDUM OPINIONAppellant has neither established indigence, nor paid all the required fees.  See
Tex. R. App. P. 5 (requiring payment of fees in civil cases unless indigent), 20.1
(listing requirements for establishing indigence); see also Tex. Gov’t Code Ann. §§
51.207 (Vernon 2005), 51.208 (Vernon Supp. 2008); 51.941(a) (Vernon 2005),
101.041 (Vernon Supp. 2008) (listing fees in court of appeals); Fees Civ. Cases
B(1), (3) (listing fees in court of appeals).  After being notified that this appeal was
subject to dismissal, appellant Ledarre Zeigler did not adequately respond.  See Tex.
R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing involuntary dismissal
of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Sharp and Taft.





